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                             UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

                    United States of America                       )
                                                                   )
                        v.                                         )      USDC No. 21-cr-725-01 (RDM)
                    Jared Kastner,                 defendant.      )

                                          MOTION TO CONVERT HEARING FROM
                                      IN-PERSON TO VIDEOTELECONFERENC (“VTC”)

                             Defendant, through undersigned counsel Nathan I. Silver, II, Esq. (“counsel”), appointed by this Court

                    under the Criminal Justice Act, respectfully moves the Court to convert the hearing set for August 31, 2022, at 9

                    o’clock a.m. from in-person to video teleconference (“VTC”). Recently married, the defendant moved to

                    Indiana where his wife already resided and started at a new job there. The defendant fears that having to attend

                    a court hearing in person, which could involve two days of travel to and from Washington, D.C., so soon after

                    having begun his job, could jeopardize his new position. Defendant submits that the purpose of the hearing will

                    not be prejudiced by its conduct remotely and that a complete airing of the issues involved can be made.

                             Defendant further avers that, far from intending to flout the Court’s release order, or even showing

                    neglectfulness in following it, he remained in compliance with the order consistent with its practical

                    enforcement.

                             As background, the court in Ohio did not order the defendant, as a condition of release, not to possess

                    firearms during the pendency of the case. That condition was imposed on Dec. 14, 2021, when the defendant

                    initially appeared in 21-mj-685 (RMM). Mag. Judge Zia M. Faruqui granted an exception that allowed

                    defendant to possess a firearm while serving on a security detail during services at his church, so long as he

                    provided proof to the Pretrial Services Agency Officer (“PSO”) within 72 hours of his release that he possessed

                    a permit to carry a firearm in the State of Ohio.1 The defendant complied with that condition.


1
    ECF Doc. 11, page 3, ¶7(t).
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                             With the permission of PSA Off. Joshua Bohman for the Southern District of Ohio, the defendant

                    turned over his firearms to his father, David Kastner, with whom the defendant resided until recently, who then

                    secured them in a lockbox in his own home for which only he (David) had the key. So long as the defendant did

                    not have access to his firearms, it could not be said that he “possessed” them. The defendant continued to reside

                    with his father until he (the defendant) married and moved to Indiana, where his wife resided.

                             The firearms about which the violation report was filed are not the defendant’s2 but those of his wife

                    Kaitlyn. The courtesy supervising officer, Shalum Watson, made a home visit to the Indiana residence on July

                    26. It was then that Ms. Watson learned of the wife’s firearms, when the defendant revealed that to her.3 There

                    followed an exchange by text message, over a period of several weeks, culminating finally on August 15,

                    regarding the issue of the firearms. Two days after the visit, PSA Off. Watson asked, “Hey, Can you remind me

                    what you had said regarding Kaitlyn’s Firearms at the residence.” It is clear from this question that the only

                    firearms involved were those of defendant’s wife, not the defendant himself. After several exchanges in

                    between4, Ms. Watson advise on August 15, “Also sorry I didn’t get back with you regarding firearms but she

                    cannot have firearms in the residence. Wherever you are residing needs to be free of any firearms. I double

                    checked with DC and your conditions.” She then asked, “Does your wife have a place to store her firearms

                    until the completion her firearms until the completion of this case?” The defendant answered, “Yes. There is a

                    lockbox.” Ms. Watson told the defendant that PSA Off. Katrina Stanford, the officer here, said that “All

                    firearms should be removed from the residence.”



2
    Those remain with the defendant’s father, David Kastner, in Ohio. Mr. Kastner confirmed that with counsel in a conversation today, Saturday, Aug. 27.

3
 The PSA report says, “A home assessment was also conducted on 7/26/2022 and a firearm was discovered within the residence.” To say that a firearm
was “discovered” is a misnomer. Off. Watson asked about firearms and the defendant told her about his wife’s. They were neither visible to Off. Watson
nor shown to her; they remained secured during the entire visit. (See ECF Doc. 45, “PSA Status Report,” Aug. 22, 2022, page 2)

4
 The exchange on the intervening days involves other matters, including verification of residence; pay stubs from defendant’s job; no contact with law
enforcement, and travel plans. (See Exhibit, Text message exchange between PSA Off. Shalum Watsona and defendant, four (4) pages, July 28 to Aug.
15, 2022.)
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       It was the defendant’s understanding that the condition which obtained in Ohio – that another occupant

(namely, his father) of his residence could store the defendant’s firearms in a lockbox, making them inaccessible

to him – likewise obtained in Indiana. The defendant had not violated the condition in Ohio, and was

determined not to do so in Indiana. For these reasons, he left his own firearms in Ohio and had his wife store

hers in a lockbox to which he will have no access while his case is pending.

       The firearms involved are not the defendant’s but those of his wife. But the precautions the defendant

has taken are the same. So long as he has no access to his wife’s firearms, he believed he did not possess them

and therefore was complying with his release order.

       The defendant, through counsel, advised the government, represented by asst. U.S. Attorney Will

Widman, of his intention to file this motion. The government opposes the conversion of the hearing from

in-person to videoteleconference.

       For the reasons stated, the Defendant moves the Court to convert the hearing from in-person to VTC.

       A proposed Order is attached.

       WHEREFORE, the defendant moves the Court to grant said relief.

                                        This pleading is,

                                    Respectfully submitted,

                                              /s/

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                                       CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a copy of the foregoing pleading has been served via ECF on Will Widman, Esq.,
U.S. Dept. of Justice - CRM, this 27th day of August, 2022.

                                                 /s/
                                    _______________________________
                                          Nathan I. Silver, II
